                                                       EFiled: Aug 17 2021 09:33PM EDT
                                                       Transaction ID 66858295
                                                       Case No. N21C-08-086 AML CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 NEXSTAR MEDIA INC.,                        )
                                            )
       Plaintiff,                           )
                                            )
              v.                            ) C.A. No. N21C-08-086 AML CCLD
                                            )
 SPECTRUM MANAGEMENT                        )
 HOLDING COMPANY, LLC,                      )
                                            )
       Defendant.                           )

                       MOTION FOR LEAVE TO FILE
                    EXHIBIT TO COMPLAINT UNDER SEAL

      Plaintiff Nexstar Media Inc. (“Plaintiff”), by its undersigned counsel,

respectfully seeks leave, pursuant to Superior Court Civil Rule 5(g), for the entry of

an order in the form attached hereto authorizing the filing of Exhibit 1 to the

Complaint (the “Exhibit,” enclosed herewith) under seal. The grounds for the

motion are as follows:

          1. Plaintiff filed its Complaint on August 11, 2021.           Because of its

confidential and sensitive nature, Plaintiff filed a slip-sheet in place of the Exhibit to

its Complaint.

          2. Superior Court Civil Rule 5(g) grants the Court authority to seal the

Exhibit upon a showing of “good cause.” Sup. Ct. Civ. R. 5(g)(2).

          3. Superior Court Civil Rule 5(g) further provides that “Court Records or

portions thereof shall not be placed under seal unless and except to the extent that
the person seeking the sealing thereof shall have first obtained, for good cause

shown, an order of this Court specifying those Court Records, categories of Court

Records, or portions thereof which shall be place under seal . . . .” Id.

          4. Exhibit 1, submitted herewith, is a retransmission consent agreement

between the parties, which sets forth the rates and other terms that govern Defendant

Spectrum Management Holding Company, LLC’s distribution to its subscribers of

television stations owned or, in certain circumstances, serviced by Plaintiff. Plaintiff

maintains the highest level of confidentiality for this information. The Exhibit is

highly sensitive from a competitive standpoint, including because Plaintiff

negotiates similar contracts with different parties. Public disclosure of the terms of

Exhibit 1 could result in substantial competitive harm to Plaintiff.

          5. Accordingly, Plaintiff seeks an order granting it permission to file the

Exhibit to the Complaint on the docket under seal.

          6. The relevant portions of the Exhibit are quoted in the Complaint.

Accordingly, Plaintiff respectfully requests that the Court waive the public version

requirement pursuant to Superior Court Civil Rule 5(g)(2).

      WHEREFORE, Plaintiff respectfully requests that this Court enter an order in

the form attached hereto authorizing Plaintiff to file the Exhibit to the Complaint

under seal.




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                                       /s/ Daniel J. McBride
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Dated: August 13, 2021




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